UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MISSOURI

 

 

 

 

 

 

)
Olen —. CrBSow )
Plaintiff )
Vows. ) ; . } ae’ 1
vs. OF - OPTS - ¢ y-W . Ae
)
GQ) Kansas C:7T/ Powee Joigureo)
)
2) GRenr FLAWS ENERGY)
)
(3) )
Defendant )
COMPLAINT TITLE VII
I, OLEN _E. G /BSew , for my claim against the defendant(s) state and allege
as follows:

1. This action is brought and jurisdiction lies pursuant to 42 U.S.C. Section 2000e.5.
Venue is proper in this district; I7¢KSe~

2. lam a AFRICAN-Amenicaw__MBIEwho resides at Broo SW PARK KAUE

 

race sex street address
RBoLUWe SPRINGS WSSounrt GYOVS
city state zip

i L/ OA Ce, "Chentr PLAMS Ew ERGY
3. The defendant (1) KAWSAS tury Cowen? is anfemployey, employment agency,

or labor organization, as defined in 42 U.S.C. Section 2000e, and is located at

JI20! WAlwar , KANSAS ¢ ry “20. EY oG.
Address

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4. Onor about OC TOKE RL , 20 oF, defendant(s) (Specify the unlawful

employment, practice which you are alleging against the defendant(s), such as: Refusal to

discharge from employment ) RETAMIAT! on Sey HARASS MENT,

imbhg Pte Conbucl e@wtharmtnT, Yi vor eaesv€ Séeavice Ct rree

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Tun PROFESS raAI BRANVIOR , LWIRONEFUI TER MmiBRTiond (Fe aaa x
at COM PIASOT: ; ‘ " ; oo 2 on Ween & Ars ECE
because of (state why defendant(s] discriminated against you, 1.e., face,) olor, religion,

hire,

 

 

sex, or national origin, etc.)

[LF RICAN - AMERICAN

5. I timely filed a written complaint of discrimination with the Equal Employment
Opportunity Commission and received a right-to-sue letter, a copy of which is attached.

WHEREFORE, I pray for (state what relief is sought):
SEE ATTACHED

and such other relief

 

as the court would allow under Title VII of the Civil Rights Act of 1964.

Cféw &. Acbaer

Signature

Qroo Sw Ark AUE

Street Address

Bcu& SPRINGS mo byors:
City State " Zip Code

B/G -BAY-19 0S

Telephone

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7 oe WHEREFORE, Plaintiff prays for judgment as follows:

That the Court adjudge and decree, after jury trial, that Defendant has discriminated, harassed,
sexually harassed, threatened, created a hostile work environment, wrongful termination, for filing a
discrimination complaint with EEOC, Human Rights, and retaliated against Plaintiff because of his
race, African-American, age, and for his having objected to Defendant's discriminatory treatment;
As a direct and proximate result of Defendant's unlawful acts. Plaintiff has suffered economic loss in
the form of lost wages, lost benefits, harm to Plaintiff's career advancement, lost pension and other
fringe benefits. Plaintiff has also suffered non-economic losses in the form of embarrassment,
humiliation, mental anguish, anxiety and inconvenience. Plaintiff seeks past and future monetary
losses and damages, plus prejudgment interest in an amount in excess of $75,000, exclusive of interest
and costs. Plaintiff also is entitled to compensatory damages in the amount of $750,000 or greater
amount as the jury finds reasonable for pain and suffering, loss of enjoyment of life, humiliation,
mental distress and anxiety, and inconvenience. Plaintiff also is entitled to punitive damages of
$2,000,000, or greater amount a jury finds reasonable for Defendant's willful, wanton, reckless
outrageous, malicious indifference to Plaintiffs civil rights. Also;

e That the Court grant a permanent injunction enjoining Defendant, its officers, agents
and employees, from engaging in any employment practice which discriminates and/or
retaliates against employees, because of their race, sex and age;

e The Court enter judgment for all compensatory and punitive damages awarded by the
jury;

e The Court allow Plaintiff his costs incurred herein, including
all other costs and expenses;

e The Court grants such additional affirmative relief as the Court

may deem just and proper.

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